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                          IN THE UNITED STATES DISTRICT COURT
                             IN AND FOR THE DISTRICT OF UTAH
                                     CENTRAL DIVISION

UNITED STATES OF AMERICA, ex rel.
GERALD POLUKOFF, M.D.
                                                             SCHEDULING ORDER
            Plaintiff/Relator,
                                                            JURY TRIAL DEMANDED
v.

ST. MARK’S HOSPITAL,                                      Civil No.: 2:16-cv-00304-TS-EJF
INTERMOUNTAIN HEALTHCARE, INC.,
INTERMOUNTAIN MEDICAL CENTER,
SHERMAN SORENSEN, M.D.,                                          Judge Ted Stewart
SORENSEN CARDIOVASCULAR GROUP,
                                                          Magistrate Judge Evelyn J. Furse

           Defendants.




Pursuant to Fed. R. Civ. P. 16(b), the court received the Attorney Planning Meeting Reports filed by
counsel. Upon reviewing the filings and hearing argument, the Court sets he following schedule. The
times and deadlines set forth herein may not be modified without the approval of the court and on a
showing of good cause pursuant to Fed. R. Civ. P. 6.

                         **ALL TIMES 4:30 PM UNLESS INDICATED**

1.          PRELIMINARY MATTERS                                                                DATE

      a.    Date the Rule 26(f)(1) conference was held?                                      12/12/18

            Have the parties submitted the Attorney Planning Meeting                         12/18/18
      b.
            Report?

      c.    Deadline for 26(a)(1) initial disclosures?                                       03/11/19
     d.     Defendants’ Motion for Summary Judgment on Statute of                            05/15/19
            Limitations Grounds—failure to file a motion by this date will
            result in a waiver of the statute of limitation defense to the claims
            pled.
      e.    The Court limits discovery to PFO/ASD procedures performed on
            or after December 6, 2006, unless, Defendants do not file a Statute
            of Limitations Summary Judgement Motion by May 15, 2019, or
            the Court denies the Statute of Limitations Summary Judgement
            Motion. In either of those events, discovery can include PFO/ASD
                                                    2
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           procedures dating back to 2002.

2.         DISCOVERY LIMITATIONS                                                           NUMBER

     a.    Maximum number of depositions by Plaintiff(s):                                 210 hours

     b.    Maximum number of depositions by Defendant(s):                                 210 hours

     c.    Maximum number of hours for each deposition                                    7
           (unless extended by agreement of parties):

     d.    Maximum interrogatories by any party to any party:                             25

     e.    Maximum requests for admissions by any party to any                            1000
           party:

     f.    Maximum requests for production by any party to any                            50
           party:

     g.    The parties shall handle discovery of electronically stored information as follows:

     h.    The parties shall handle a claim of privilege or protection as trial preparation material
           asserted after production as follows: Include provisions of agreement to obtain the benefit
           of Fed. R. Evid. 502(d).

     i.    Last day to serve written discovery:                                           03/27/20

     j.    Close of fact discovery:                                                       04/30/20

     k.    (optional) Final date for supplementation of disclosures                       00/00/00
           and discovery under Rule 26(e):




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     3.           AMENDMENT OF PLEADINGS/ADDING PARTIES1                                       DATE

           a.     Last day to file Motion to Amend Pleadings:                             09/30/19

           b.     Last day to file Motion to Add Parties:                                 09/30/19

     4.           RULE 26(a)(2) EXPERT DISCLOSURES & REPORTS                                   DATE

           Disclosures (identity of experts) & Reports on the Issue of Standard of Care/Medical
           Necessity of PFO/ASD Closures in the Medical Community
           a.     Party(ies) bearing burden of proof:                                     06/28/19

           b.     Counter disclosures:                                                    07/26/19
            c.    Last day for expert discovery on this issue:                            09/27/19
           Disclosures (subject and identity of experts) & Reports on all other topics:

           a.     Party(ies) bearing burden of proof:                                     05/29/20

           b.     Counter reports:                                                        07/29/20
            c.    Last day for expert discovery on all other topics:                      09/29/20
     5.           OTHER DEADLINES                                                              DATE

            a.    Deadline for filing dispositive or potentially dispositive              10/25/19
                  motions and/or motions to exclude expert testimony on
                  the issue of standard of care/medical necessity of
                  PFO/ASD closures in the medical community:


           b.     Deadline for filing all other dispositive or potentially                10/30/20
                  dispositive motions:
           c.     Deadline for filing all other partial or complete motions               01/08/21
                  to exclude expert testimony that would not prove
                  dispositive of the case:
     6.           SETTLEMENT/ALTERNATIVE DISPUTE RESOLUTION                                    DATE

           a.     Likely to request referral to a magistrate judge for          Yes/No    No
                  settlement conference:

           b.     Likely to request referral to court-annexed arbitration:      Yes/No    No

           c.     Likely to request referral to court-annexed mediation:        Yes/No    No

           d.     The parties will complete private mediation/arbitration by:             04/24/19

           e.     Evaluate case for settlement/ADR on:                                    00/00/00



1
    Counsel must still comply with the requirements of Fed. R. Civ. P. 15(a).
                                                            4
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         f.     Settlement probability:                                                          Fair

    7.          TRIAL AND PREPARATION FOR TRIAL                                     TIME            DATE

          a.    Rule 26(a)(3) pretrial disclosures2

                Plaintiff(s):                                                                    01/29/21

                Defendant(s):                                                                    02/12/21

          b.    Objections to Rule 26(a)(3) disclosures                                          00/00/00
                (if different than 14 days provided in Rule)
                                              3
          c.    Special Attorney Conference on or before:                                        03/05/21

          d.    Settlement Conference4 on or before:                                             03/05/21

          e.    Final Pretrial Conference:                                            : _.m.     03/15/21

          f.    Trial                                  Length

                Jury Trial                             21 days                    8:30 a.m.      04/05/21

    8.          OTHER MATTERS

                Parties should fully brief all Motions in Limine well in advance of the pretrial conference.



                Signed April 8, 2019.

                                                  BY THE COURT:


                                                  U.S. Magistrate Judge




2
  The Parties must disclose and exchange any demonstrative exhibits or animations with the 26(a)(3)
disclosures.
3
  The Special Attorneys Conference does not involve the court. During this conference, unless otherwise
ordered by the court, counsel will agree, to the extent possible, on voir dire questions, jury instructions, and a
pretrial order. They will discuss the presentation of the case, and they should schedule witnesses to avoid
gaps and disruptions. The parties should mark exhibits in a way that does not result in duplication of
documents. The pretrial order should include any special equipment or courtroom arrangement requirements.
4
  The Settlement Conference does not involve the court unless the court enters a separate order. Counsel must
ensure that a person or representative with full settlement authority or otherwise authorized to make decisions
regarding settlement is available in person or by telephone during the Settlement Conference.
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